                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )      MATTICE/CARTER
                                              )
        v.                                    )      CASE NO. 4:09-CR-45
                                              )
 BRANDI MASON                                 )


                                            ORDER

        On October 5, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Brandi Mason’s (“Defendant”)

 plea of guilty to Count One of the Indictment in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in Count One of the Indictment; (c) that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall remain on bond pending

 sentencing in this matter (Doc. 30). Neither party filed an objection within the given ten days.

 After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and




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       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 January 11, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:

                                                    /s/Harry S. Mattice, Jr.
                                                    HARRY S. MATTICE, JR.
                                               UNITED STATES DISTRICT JUDGE




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